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 IN THE UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
 EASTERN DIVISION




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                                                         : CASE NO. 1:10 cr 00432
  UNITED STATES OF AMERICA,                              :
                                                         :
                                             Plaintiff, : MEMORANDUM AND ORDER
                                                         : DENYING THE DEFENDANTS’
                           -vs-                          : MOTIONS TO SUPPRESS
                                                         :
                                                         :
  MARVIN P. TANNER, et al,                               :
                                                         :
                                        Defendants.
  ------------------------------------------------------


 UNITED STATES DISTRICT JUDGE LESLEY WELLS

         Before the Court are two motions to suppress, filed by defendants Marvin P.

 Tanner and Nathan C. Feagin, respectively.1 (Doc. 244, 379). The defendants maintain

 that the government acted without probable cause and in violation of Title III of the

 Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2521 (“Title

 III”), when it used wiretaps to intercept telephonic communications in which they were

 participants. The defendants accordingly maintain that this evidence should be

 suppressed. The government has filed a brief in opposition. (Doc. 649). For the reasons

 that follow, the motions will be denied.


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           Defendant Ronnie J. Carter initially joined in Mr. Feagin’s motion, but he has
           since pled guilty to the charges in this matter. (See Doc. 666). Mr. Feagin
           indicates that he joins in Mr. Tanner’s motion.
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       I. Introduction

       On 29 September 2010, Mr. Tanner and Mr. Feagin (collectively, “defendants”),

 along with twenty-one others, were indicted on drug conspiracy charges in violation of

 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846. (Doc. 1). The defendants were also charged

 with the unlawful use of a communication facility in violation of 21 U.S.C. § 843(b). The

 indictment alleges that defendant Damell Owens obtained multi-kilogram shipments of

 cocaine and cocaine base, which Mr. Tanner, Mr. Feagin, and others helped transport,

 store, process, and distribute. (See Doc. 1).

       This information came to the attention of law enforcement as a result of a wide-

 ranging criminal investigation which employed a number of investigative methods

 including wiretaps. On five occasions, the government applied for authorization to

 intercept telephone communications in connection with four cellular telephone numbers

 (“target telephones”) allegedly being used to facilitate the drug conspiracy. The

 applications were supported by affidavit. Orders authorizing the wiretaps were issued on

 13 January 2010, 17 February 2010, 31 March 2010, 29 April 2010, and 26 May 2010.

 These orders remain under seal.

       The defendants challenge the legality of the wiretaps and argue that they have

 the standing to do so as “aggrieved persons” pursuant 18 U.S.C. § 2518(10)(a). An

 “aggrieved person” is “a person who was a party to any intercepted wire, oral, or

 electronic communication or a person against whom the interception was directed.” 18

 U.S.C. § 2510(11). In this instance, the defendants have standing to challenge the




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 admissibility of the wiretapped conversations in which they were participants. See

 United States v. Cooper, 868 F.2d 1505, 1509-10 (6th Cir. 1989).


        II. Law and Argument

               A. Requests for discovery

        Preliminarily, both defendants request a number of discovery materials that they

 maintain are necessary to properly challenge the wiretaps. They seek: (1) all recorded

 calls, including non-pertinent calls, obtained in the course of the investigation, along with

 their transcripts; (2) all wiretap progress reports; (3) all orders sealing the recordings in

 this case; and (4) all pen registers and trap and trace applications and orders. (Doc.

 244, p. 3-4; Doc. 379, pp. 2-3). Each request will be addressed in turn.

        First, the defendants are not entitled to recordings and transcripts beyond those

 described the Federal Rules of Criminal Procedure. Under the rules, the government

 must disclose and make available any relevant recorded statement by a defendant,

 which is known to the government and in its possession. Fed. R. Crim. P. 16(a). In this

 instance, the defendants do not explain how the government has failed to fulfill its duty

 under Rule 16(a), and they cite no authority that would entitle them to discovery beyond

 what the rule describes in this regard. In any event, it appears that this request is moot,

 since the government states that it has already provided copies and transcripts of all

 calls obtained during the investigation. (Doc. 649, p. 4).

        As for the wiretap progress reports, the defendants cite no authority that would

 allow their discovery. Progress reports are not required under the wiretap statute. See

 18 U.S.C. § 2518. Rather, they are a matter in the discretion of the issuing judge. See


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 18 U.S.C. § 2518(6). As a consequence, “the reports are not related to compliance with

 the statute.” United States v. Pray, 734 F.Supp.2d 158, 160 (D.D.C. 2010). Moreover,

 because the reports are “documents made by an attorney for the government or other

 government agent in connection with investigating or prosecuting [a] case,” they are

 excluded from discovery pursuant to Fed. R. Crim. P. 16(a)(2). See United States v.

 McCafferty, 772 F.Supp.2d 863, 878-79 (N.D. Ohio 2011). Therefore, the defendants

 are not entitled to discovery of the wiretap progress reports.

           Next, the defendants’ request for discovery of the orders sealing the wiretap

 recordings is moot, because the government agreed to provide copies of all the sealing

 orders. (Doc. 649, p. 5).

        Finally, the defendants seek discovery of the pen registers and trap and trace

 applications, and the orders authorizing them. Mr. Tanner states that discovery of these

 items “would enable [him] to properly challenge the authorizations of the wiretap in this

 case and/or the manner in which the wiretap investigation was conducted.” (Doc. 244,

 p. 4). Because the defendants have not demonstrated how these items are material to

 their challenge to the wiretaps pursuant to Fed. R. Crim. P. 16(a)(1)(E), their request is

 denied.

        B. Probable Cause

        The defendants raise the question whether the wiretaps are supported by

 probable cause. The probable cause standard for a wiretap is similar to that for a search

 warrant. United States v. Alfano, 838 F.2d 158, 161 (6th Cir. 1988). When reviewing a

 warrant or a wiretap affidavit for probable cause, this Court considers whether the

 issuing judge had a “substantial basis for concluding that probable cause existed.”

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 Illinois v. Gates, 462 U.S. 213, 238 (1983). Probable cause exists when based on the

 totality of the circumstances, “there is a fair probability that contraband or evidence of a

 crime will be found in a particular place.” United States v. Williams, 224 F.3d 530, 532

 (6th Cir.2000) (quoting Gates, 462 U.S. at 238).

        “The affidavit should be reviewed in a commonsense - rather than a

 hypertechnical - manner, and the court should consider whether the totality of the

 circumstances supports a finding of probable cause, rather than engaging in line-by-line

 scrutiny.” United States v. Woosley, 361 F.3d 924, 926 (6th Cir. 2004). Great deference

 is afforded to the issuing judge’s determination of probable cause, and that

 determination should be reversed only if the issuing judge arbitrarily exercised his

 discretion. Id.

        In this instance, neither defendant raises a meritorious argument with respect to

 probable cause. First, Mr. Feagin simply states the conclusion that “there was no

 probable cause for the Title III wiretap on [Target Telephone 4],” without offering any

 meaningful argumentation. (Doc. 379, p. 7). Upon review of the challenged affidavit, the

 Court concludes that Mr. Feagin’s assessment is incorrect. Based on the totality of the

 circumstances, the facts as set forth in the affidavit establish a fair probability that

 Target Telephone 4 was being employed in furtherance of a crime. (See 29 April 2010

 Order, ¶¶34-37).

        Mr. Tanner’s arguments are also without merit. He begins by pointing out that,

 according to the affidavits, investigators used pen registers in order to record outgoing

 numbers dialed from target phone numbers. (Doc. 244, p. 14). The information collected

 by the pen registers is set forth in the affidavits, and includes the outgoing numbers and

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 the number of times each number was dialed. Mr. Tanner maintains that this data does

 not establish probable cause, because it fails “to establish a nexus between the target

 telephones and criminal activity.” (Doc. 244, p. 14). He also sees an absence of

 probable cause based on the purportedly ambiguous language used in certain

 controlled telephone calls made by a confidential source. (Doc. 244, p. 15).

        The problem with these contentions is that the affidavits did not rely merely on

 pen registers and the allegedly ambiguous conversations in order to establish probable

 cause. The affidavits document a wide array of investigative efforts on the part of the

 law enforcement, which establish probable cause for the existence of an alleged

 criminal drug operation and the use of the target telephones to facilitate it. Mr. Tanner

 does not suggest that these facts are somehow deficient in establishing probable cause.

 Therefore, even assuming Mr. Tanner is correct and the pen registers and cited

 conversations provide insufficient cause, he does not present a meaningful challenge,

 since he fails to explain how the affidavits are otherwise lacking. Mr. Tanner’s argument

 is accordingly rejected.

        Having reviewed the challenged affidavits, the Court concludes that based on the

 totality of the circumstances, the issuing judge did not arbitrarily exercise his discretion

 in his determination that probable cause existed.

               C. Necessity requirement

        Next, the defendants maintain that the government has not satisfied Title III’s

 necessity requirement, which requires that an application for a wiretap order contain “a

 full and complete statement as to whether or not other investigative procedures have

 been tried and failed or why they reasonably appear to be unlikely to succeed if tried or

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 to be too dangerous.” 18 U.S.C. § 2518(1)(c). The purpose of the necessity requirement

 is “to ensure that a wiretap ‘is not resorted to in situations where traditional investigative

 techniques would suffice to expose the crime.’” Alfano, 838 F.2d at 163 (quoting United

 States v. Kahn, 415 U.S. 143, 153 n. 12 (1974)). Further, the necessity requirement

 protects against the impermissible use of a wiretap as the “initial step in [a] criminal

 investigation.” United States v. Giordano, 416 U.S. 505, 515 (1974).

        The defendants argue that the government has not met this standard, because it

 did not demonstrate the need for wiretaps with “particularized necessity.” The

 defendants maintain that the government’s “bare conclusory assertions” and use of

 boilerplate do not demonstrate necessity under the case law. (Doc. 244, pp. 18-19).

        Upon review of the challenged affidavits and the applicable law, the Court

 concludes that this argument has no merit. Each affidavit contains detailed descriptions

 of potentially useful investigative procedures typically employed in an investigation of

 this kind, including the use of confidential sources, controlled drug purchases, controlled

 telephone calls, pen registers, mail covers, trash covers, police records, search

 warrants, and physical surveillance, among others. The affidavits provide specific

 reasons, in relation to the particular facts of this case, as to why each investigative

 technique ultimately proved inadequate, unlikely to succeed, or too dangerous to

 employ, in light of the goals of the investigation. These reasons are sufficient to satisfy

 the necessity standard.

        The defendants also argue, unpersuasively, that the necessity requirement is

 unfulfilled because the affidavits describe initial investigative success using less

 intrusive techniques. (Doc. 244, pp. 19-20; Doc. 379, p. 10). This argument has no merit

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 because whether or not the government had initial success using non-wiretap

 techniques is not relevant to the pivotal question in this instance. The necessity

 requirement is met where the affidavit provides “reasons for the investigators’ belief that

 such non-wiretap techniques have been or will likely be inadequate.” Alfano, 838 F.2d at

 163-64. Although investigators had initial success using non-wiretap methods, the

 affidavits provide ample support for the government’s assertion that these methods

 ultimately proved inadequate. Moreover, the affidavits plainly demonstrate that wiretaps

 were not being “routinely employed as the initial step in [a] criminal investigation.”

 Giordano, 416 U.S. at 515.

        The defendants also insist that cooperating witnesses and confidential informants

 could have continued to provide additional useful information. (Doc. 244, pp. 19-23).

 This assertion is belied by the affidavits, which provide specific reasons as to why the

 informants in this matter were, for the most part, no longer a viable investigatory tool.

 Further, while the defendants state that all non-wiretap methods had not been tried, “the

 government is not required to prove that every other conceivable method has been tried

 and failed or that all avenues of investigation have been exhausted.” Alfano, 838 F.2d at

 163.

               D. Defendants’ Request for a Franks Hearing

        The defendants request a Franks hearing. A Franks hearing is warranted, “if and

 only if (1) there is a substantial preliminary showing that specified portions of the

 affiant’s averments are deliberately or recklessly false and (2) a finding of probable

 cause would not be supported by the remaining content of the affidavit when the

 allegedly false material is set to one side.” See United States v. Campbell, 878 F.2d

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 170, 171 (6th Cir. 1989). In this instance, the defendants have not made the requisite

 initial showing, and their request is denied.

                 E. Minimization

          The defendants maintain that the government failed to minimize the intrusion on

 the target telephones. (Doc. 244, pp. 27-28). Title III requires that a wiretap investigation

 be “conducted in such a way as to minimize the interception of communications not

 otherwise subject to interception.” 18 U.S.C. § 2518(5). In order to present a

 minimization challenge, a defendant must present a “prima facie pattern of abuse.”

 United States v. Lawson, 780 F.2d 535, 540 (6th Cir. 1985). “‘It is not enough for [a]

 defendant[ ] to identify particular calls which [he] contend[s] should not have been

 intercepted.’” Id. (quoting United States v. Dorfman, 542 F.Supp. 345, 391 (N.D.Ill.

 1982).

          In this instance, the defendants identify a single conversation related to the

 entertainment industry, which they contend was innocent and should not have been

 intercepted, but they fail to set forth any facts that would establish a pattern of abuse of

 Title III’s minimization requirements. (Doc. 244, p. 27). The defendants’ minimization

 argument is accordingly rejected.

                 F. Overbroadness

          Finally, the defendants argue that the wiretap orders are overbroad because the

 government was authorized to intercept calls not only from the target telephones but

 from “any phone it wanted.” (Doc. 244, p. 29).

          The defendants’ assessment of the wiretap orders is incorrect. The orders

 identify each targeted cellular phone by a phone number, an individual mobile

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  subscriber identity number (“IMSI”), and an electronic serial number (“ESN”). One

  provision in the orders contemplates the possibility that a target phone number, IMSI, or

  ESN might change. Contrary to the defendants’ assertions, however, the provision does

  not allow the government to listen to “any phone.” Rather, the provision indicates that

  should a phone number, IMSI, or ESN change, the wiretap authorization would still

  apply. For example, the wiretap would remain effective even if one of the targets of the

  investigation changed his telephone number while continuing to use the same cellular

  phone. The orders are sufficiently specific because they apply only to the unique

  identifying numbers stated therein. The defendants’ argument that the wiretap orders

  are overbroad has no merit.


          III. Conclusion

          For the reasons stated above, the defendants’ motions to suppress are denied.

  (Resolving Docs. 244, 379).



          IT IS SO ORDERED.

                                                     /s/ Lesley Wells
                                                  UNITED STATES DISTRICT JUDGE

  Date:    6 May 2013




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